 Case 5:23-mj-05283-MAS
       Case 4:23-cr-00218*SEALED*
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AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT t:as,e11 Oistricl of Kentucky
                                                                 for the                                              FILED
                                                     Eastern District of Kentucky
                                                                                                                 AUG O8 2023
                  United States of America                         )                                             AT LEXINGTON
                               V.                                  )                                             Robert R, Carr
              Dhirenkumar Vishnubhai Patel                         )        Case No. 5:23-mj-5283-i&:i?K U.S. DISTRICT COURT
                                                                   )                                                United States Courts
                                                                   )           Charging District's                Southern District of Texas
                                                                   )           Case No. 4:23-cr-218
                           Dejf!ndant
                                                                                                                           FILED
                                            COMMITMENT TO ANOTHER DISTRICT                                             August 09, 2023
                                                                                                            Nathan Ochsner, Clerk of Court
          The defendant has been ordered to appear in the                  Southern        District of Texas

(if applicable)   ~H=o=u=st=o~n~---            _ _ division. The defendant may need an interpreter for this language:



          The defendant:        ~ i l l retain an attorney.
                                0 is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transpmi the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant's arrival so that fwiher proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:              08/08/2~0=2~3_ _


                                                              _ ____ Matthew A. Stinnett, U.S. Magistrate J.u=d=g=e_ _ __
                                                                                         Primed name and title




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